           Case5:15-cr-00226-EJD Document30 Filed07/09/15 Page1 of 3



 1   STEVEN G. KALAR
     Federal Public Defender
 2   GRAHAM ARCHER
     Assistant Federal Public Defender
 3   55 South Market Street, Suite 820
     San Jose, CA 95113
 4   Telephone: (408) 291-7753
     Graham_Archer@fd.org
 5
     Counsel for Defendant DOUGLAS STORMS YORK
 6

 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                            SAN JOSE DIVISION
10

11
     UNITED STATES OF AMERICA,                       )     No. CR 15-00226 BLF
12                                                   )
                               Plaintiff,            )     JOINT PROPOSED VOIR DIRE
13                                                   )     QUESTIONS
                                                     )
14   vs.                                             )
                                                     )
15                                                   )     Pretrial Conference: July 16, 2015
                                                     )     Time: 2:00 p.m.
16   DOUGLAS STORMS YORK,                            )
                                                     )     Trial Date: July 20, 2015
17                             Defendant.            )
                                                     )     Honorable Beth Labson Freeman
18

19            Defendant Douglas Storms York, by and through Assistant Federal Public Defender

20   Graham Archer, and the United States, by and through Special Assistant United States Attorney

21   Brianna Penna, respectfully request that the following questions be posed by the Court to the

22   venire, either in a questionnaire or in open court:

23            1.      Have you ever served on a jury? Was the case civil or criminal? Were you able to

24   reach a verdict?

25            2.      What clubs or organizations do you belong to? Do you belong to any

26   organizations concerned with criminal law or the criminal justice system?

     Joint Proposed Voir Dire Questions
     CR 15-00226 BLF                          1
           Case5:15-cr-00226-EJD Document30 Filed07/09/15 Page2 of 3



 1              3.      Have you ever applied for a job or worked for a law enforcement agency or in the

 2    military or security field? Have any of your close friends or relatives ever applied for a job or

 3    worked for a law enforcement agency or in the military or security field?

 4              4.      Have you ever applied for a job or worked in the legal field? Do you have any

 5    legal training? Have any of your close friends or relatives ever applied for a job or worked in the

 6    legal field?

 7              5.      There may be one or more law enforcement officers or agents who will testify in

 8    this case. Will the fact that a person is a law enforcement officer make you trust him or her more

 9    than any other witness? Would you tend to give any greater weight or credibility, no matter how

10    slight, to the testimony of a law enforcement officer or government witness because they are

11    employees of, or are testifying on behalf of, the government?

12              6.      Have you, a member of your family, or a friend been a victim of a crime? If so,

13    what effect if any would that fact have on your ability to be fair and impartial in deciding whether

14    Mr. York is guilty or not guilty of the charges in this case?

15              7.      Have you, a member of your family, or a friend been involved in a family law

16    proceeding involving divorce or child custody? A bad break-up of a relationship with a

17    significant other? A victim of stalking? If so, what effect if any would that fact have on your

18    ability to be fair and impartial in deciding whether Mr. York is guilty or not guilty of the charges

19    in this case?

20              8.      Mr. York is charged with false impersonation of an employee of the United States.

21    If you were called upon to return a verdict right now, would you return a verdict of guilty?

22              9.      What are your opinions on the United States’ laws on false impersonation of a

23    government employee? Do you think these law should be tougher? Do you believe you can put

24    that opinion aside and judge Mr. York solely on the basis of the evidence presented at trial?

25              10.     Do you think that Mr. York must have done something wrong or he would not be

26    here today?

     Joint Proposed Voir Dire Questions
     CR 15-00226 BLF                          2
           Case5:15-cr-00226-EJD Document30 Filed07/09/15 Page3 of 3



 1              11.      Mr. York is presumed to be innocent unless and until he is proven guilty beyond a

 2     reasonable doubt. Do you have any trouble giving him the benefit of this presumption of

 3     innocence without any mental reservations whatsoever?

 4              12.      Mr. York has pled not guilty to the charge against him. What are your thoughts

 5     about whether or not a defendant should testify?

 6              13.      If after hearing all the evidence in this case, you thought that Mr. York was

 7     probably guilty, but you were not convinced beyond a reasonable doubt, would you have trouble

 8     returning a verdict of not guilty?

 9              14.      Will you be concerned about later criticism should you return a verdict of not guilty?

10              15.      Is there anything about the nature of the charge or your personal experience which

11     you have not disclosed that makes you believe that you could not be fair and impartial in

12     reaching a verdict in this case?

13

14                                                   Respectfully submitted,

15     Dated: July 9, 2015

16                                                     /s/ Graham Archer

17                                                     GRAHAM ARCHER
                                                       Assistant Federal Public Defender
18
       Dated: July 9, 2015
19

20
                                                       /s/ Brianna Penna
21

22                                                     BRIANNA PENNA
                                                       Special Assistant United States Attorney
23

24

25

26

     Joint Proposed Voir Dire Questions
     CR 15-00226 BLF                             3
